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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

ENERRA CORPORATION,                                       Civil Action No. 3:23-cv-00194-L

                                 Plaintiff,

        vs.

CONTI GROUP LLC, PLASTIKGAS LLC,
ROBERTO CONTI, JULIE CONTI, JORDAN
CONTI,

                                 Defendants.


CONTI GROUP, LLC,

                                 Counter-Plaintiff,

        vs.

ENERRA CORPORATION, SERGIO PEREZ,
MARK MILLS AND MICHAEL BROWN,

                                  Third-Party
                                  Defendants.


    RESPONSE IN OPPOSITION TO THIRD PARTY DEFENDANTS’ MOTION TO
       DISMISS; REQUEST TO CONDUCT JURISDICTIONAL DISCOVERY;
                    REQUEST TO AMEND PLEADINGS

        Counter-Plaintiff responds in opposition to Third-Party Defendants’ Motion to Dismiss

Pursuant to Rule 12(b)(2) for lack of personal jurisdiction. Counter-Plaintiff hereby moves the

Court to find that personal jurisdiction exists. Counter-Plaintiff requests permission to conduct

jurisdictional discovery. Counter-Plaintiff requests permission to amend pleadings.

        In accordance with Local Rule 7.1(d), Counter-Plaintiff submits the accompanying Brief

in Support of Response in Opposition to Third-Party Defendants’ Motion to Dismiss.




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        WHEREFORE, PREMISES CONSIDERED, Counter-Plaintiff prays that this Court

DENY Third-Party Defendants’ Motion to Dismiss, and grant Counter-Plaintiff any further relief,

both in law and equity, as the Court deems proper and just.

Dated May 8, 2023                                 Respectfully submitted,



                                                  CRM LAW PLLC

                                                  By:    /s/ Carrie R. McNair
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                                                  GROUP LLC, PLASTIKGAS LLC, ROBERTO
                                                  CONTI, JULIE CONTI, JORDAN CONTI AND
                                                  (B) COUNTER-PLAINTIFF CONTI GROUP,
                                                  LLC

                                                   /s/ Brandon Wilson

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                                                  (B) COUNTER-PLAINTIFF CONTI GROUP,
                                                  LLC


                                    CERTIFICATE OF SERVICE

        I certify that all attorneys deemed to accept service of the above-referenced document
electronically, which includes all attorneys entitled to receive service of the above-referenced
document, will be notified via the Court’s CM/ECF system on today’s date, May 8, 2023.

                                                        By: /s/ Carey R. McNair
                                                                Carey R. McNair




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